                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

RALEIGH WAKE CITIZENS ASSOCIATION,  )
INC, JANNET B. BARNES, BEVERLEY S.  )
CLARK, WILLIAM B. CLIFFORD, BRIAN   )
FITZSIMMONS, GREG FLYNN, DUSTIN     )                       JUDGMENT IN A CIVIL CASE
MATTHEW INGALLS, AMY T. LEE, ERVIN  )                       CASE NO. 5:15-CV-156-D
PORTMAN, SUSAN PORTMAN, JANE C.     )
ROGERS, BARBARA D.VANDENBERGH,      )
JOHN G.VANDENBERGH, AMY WOMBLE,     )
AND PERRY WOODS,                    )
                 Plaintiffs,        )
                                    )
V.                                  )
                                    )
THE WAKE COUNTY BOARD OF ELECTIONS, )
              Defendant.            )


CALLA WRIGHT, WILLIE BETHEL,                         )
AMY LEE, AMYGAYLE WOMBLE,                            )
JOHN VANDENBERGH, BARBARA                            )
VANDENBERGH, AJAMU DILLAHUNT,                        )
ELAINE DILLAHUNT, LUCINDA                            )
MACKETHAN, WILLIAM CLIFFORD, ANN                     )
LONG CAMPBELL, GREG FLYNN, BEVERLY                   )
CLARK, CONCERNED CITIZENS FOR                        )
AFRICAN-AMERICAN CHILDREN,                           )
AND RALEIGH WAKE CITIZENS                            )      JUDGMENT IN A CIVIL CASE
ASSOCIATION,                                         )      CASE NO. 5:13-CV-607-D
               Plaintiffs,                           )
                                                     )
V.                                                   )
                                                     )
STATE OF NORTH CAROLINA and                          )
WAKE COUNTY BOARD OF ELECTIONS,                      )
                Defendants.                          )

Decision by Court.
This action came before this Court for ruling as follows.

IT IS ORDERED, ADJUDGED, AND DECREED that the court GRANTS permanent
declaratory and injunctive relief, DECLARES that the population deviations in the redistricting



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plan in Session Law 2013-110 for the Wake County School Board and Session Law 2015-4 for
the Wake County Board of Commissioners violate the equal protection clauses of the Fourteenth
Amendment to the United States Constitution and Article I, § 19 of the North Carolina
Constitution, and ENJOINS the use of the unconstitutional redistricting plan in Session Law
2013-110 and Session Law 2015-4 in any elections, including the November 2016 elections.
        The court ADOPTS the following as a court-ordered interim plan. For the November
2016 Board of Commissioners elections, the court orders the Wake County Board of Elections to
use the 2011 redistricting plan that was used in the 2014 Wake County Board of Commissioners
elections. The Commissioner candidates will run in residency Districts 4, 5, and 6 and be elected
countywide. The elected Commissioner candidates from Districts 4, 5, and 6 will serve two-year
terms. This court RETAINS jurisdiction to implement, enforce, and amend this judgment in
order to ensure timely and orderly elections and to provide other appropriate relief as needed.

IT IS FURTHER ORDERED that plaintiffs' motion for attorneys' fees, expert fees, and litigation
expenses [D.E. 119] and motion for costs [D.E. 118] are GRANTED IN PART and DENIED IN
PART. It is ORDERED that: 1. Plaintiffs shall recover from defendant attorneys' fees in the
amount of $375,520.39; 2. Plaintiffs shall recover from defendant litigation expenses in the
amount of $8,607.14; 3. Plaintiffs shall recover from defendant expert fees in the amount of
$17,719.24; 4. Plaintiffs shall recover taxable costs from defendant in the amount of $5,434.60;
and 5. The Clerk is DIRECTED to enter judgment in both actions consistent with this order and
to note that motions [D.E. 125] and [D.E. 126] in Case No. 5:13-CV-607-D are RESOLVED in
this order.


This Judgment Filed and Entered on September 29, 2017, and Copies To:
Alexander McClure Peters                            (via CM/ECF Notice of Electronic Filing)

Melissa L. Trippe                                   (via CM/ECF Notice of Electronic Filing)
Allison Jean Riggs                                  (via CM/ECF Notice of Electronic Filing)
Anita S. Earls                                      (via CM/ECF Notice of Electronic Filing)
Charles F. Marshall, III                            (via CM/ECF Notice of Electronic Filing)
Jessica Thaller-Moran                               (via CM/ECF Notice of Electronic Filing)
Matthew B. Tynan                                    (via CM/ECF Notice of Electronic Filing)
Phillip J. Strach                                   (via CM/ECF Notice of Electronic Filing)
Thomas A. Farr                                      (via CM/ECF Notice of Electronic Filing)
James Bernier, Jr.                                  (via CM/ECF Notice of Electronic Filing)


DATE:                                        PETER A. MOORE, JR., CLERK
September 29, 2017                           (By) /s/ Nicole Briggeman
                                             Deputy Clerk




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